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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA             )
                                     )        CRIMINAL ACTION NO.
       v.                            )           2:12cr48-MHT
                                     )               (WO)
MICHAEL SMITH                        )

                          OPINION AND ORDER

       It is ORDERED that defendant Michael Smith’s motion

for reconsideration of denial of release (doc. no. 411 )

is denied.

                                   ***

       With this opinion and order, the court explains both

why it decided to take defendant Michael Smith into

custody after his convictions and why it is now denying

Smith’s motion for reconsideration of that decision.

       Smith has been convicted of two counts of deprivation

of     civil   rights     and    five    counts     relating      to      the

obstruction of justice.          After a jury verdict, the court

took        Smith      into      custody        pursuant        to        18

U.S.C. § 3143(a)(2).
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    Section     3143(a)(2)      provides       that   a   person   found

guilty of certain offenses (including violent crimes and

crimes    for     which     the      maximum      penalty     is    life

imprisonment)     shall    be       detained    pending     sentencing.

Because   Smith    was    convicted      of    deprivation    of   civil

rights for beating a prisoner to death and because he is

looking at a maximum penalty of life imprisonment, this

mandatory detention provision governs on both points.

According to this provision Smith must be detained unless

the court finds him unlikely to flee or pose a danger to

the public and also finds that one of two conditions are

met: (i) there is a substantial likelihood that a motion

for acquittal or new trial will be granted, or (ii) the

government      recommends      a    non-incarceration        sentence.

Here, neither of these latter two conditions is met.

    Although there is disagreement among courts as to

whether the “exceptional circumstances” provision of 18

U.S.C. § 3145(c) also applies to § 3143(a)(2), contrast

United States v. Goforth, 546 F.3d 712 (4th Cir. 2008)



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(finding term “judicial officer” in § 3145(c) includes

both district and appellate judges), with United States

v. Harrison, 430 F. Supp. 1378 (M.D. Ga. 2006) (Lawson,

J.)    (finding      §    3145(c)   does    not    apply    to   district

courts),      both       the   government    and    Smith    agree     that

§   3145(c)’s      exceptional      circumstances       also     apply     to

§ 3143(a)(2).         For reasons that will be explained, the

court concludes that exceptional circumstances do not

merit Smith’s release, and, therefore, the court need not

resolve the disagreement.

       As counsel for Smith observed, the court must look at

the totality of the circumstances in determining whether

exceptional circumstances are present.                   First, not all

forms of violence are equal.                On the one hand, there

might be a simple assault without serious injury, and, on

the other, there is death.                Here, Smith’s unjustified

violence had the ultimate result: the death of Rocrast

Mack.      Second, there was sufficient evidence to support

the finding that Smith maliciously and sadistically, and



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without any justification, tortured Mack, an inmate who

had been entrusted to Smith’s care.                   There was further

sufficient evidence to support the findings that, on two

separate occasions, albeit within minutes of each other,

he not only ordered others to beat Mack repeatedly with

their fists and batons, he himself repeatedly beat Mack

with a baton, and, on the last occasion, he even stomped

on Mack’s head.         Mack was left brain dead.             Thus, there

was    sufficient      evidence     to    support     the   finding    that

Smith’s violence was most extreme.

       To be sure, there are other factors a court should

consider: the aberrational nature of the offense, United

States v. Garcia, 340 F.3d 1013, 1019 (9th Cir. 2003);

the length of the sentence imposed or the length of the

maximum possible sentence, id.; circumstances that would

render      prison     unusually      harsh     for     the    particular

defendant (for example, serious illness or injury), id.

at 1019-20; the nature of the defendant’s arguments on

appeal, id. at 1020; an exceptional unlikelihood that the



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defendant    would    flee     or       constitute    danger    to      the

community, id.; an unusual degree of cooperation with the

government, id. at 1021; whether the defendant led an

exemplary life prior to his offense and would be likely

to continue to contribute to society significantly while

free pending sentencing, United States v. DiMattina, 885

F. Supp. 2d 572, 589 (E.D.N.Y. 2012) (Weinstein, J.); and

whether the defendant’s family would suffer exceptional

hardship due to his detention, United States v. Williams,

903 F. Supp. 2d 292, 302 (M.D. Pa. 2012) (Connor, J.).

This court has considered all these factors, but only a

few warrant discussion.

    Smith’s    family     circumstances        do    not   warrant      his

release.    Most defendants who come before this court have

family circumstances similar to, if not much worse than,

Smith’s.     Indeed, the court is without evidence that

Smith and his wife do not have others who can assist his

wife with their children in Smith’s absence.                   And while

Smith’s status as a former correctional officer may make



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his confinement particularly challenging, this concern

applies    to   every    law-enforcement        officer     who   finds

himself on the wrong side of a locked door.               Without some

evidence that the conditions of Smith’s confinement are

uniquely harsh as compared to that of other similarly

situated defendants, this circumstance is, by itself,

unexceptional.      Smith further argues that his “detention

will interfere with his ongoing mental health treatment.”

Def. Smith’s mot. for reconsideration (doc. no. 411) at

1-2.    The court does not see this need as an obstacle to

confinement.     Upon Smith’s request, the court is willing

to meet with Smith’s counsel and this district’s Marshal

to make sure that all of Smith’s medical needs are met.

       On the other hand, to be sure, there is no evidence

that Smith is a flight risk or that he is a danger to

society.     Nevertheless, looking at the totality of the

circumstances     and   after    considering       all    the   factors

listed above–-in particular, against the backdrop of

Mack’s death and the evidence sufficient to support a



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finding of Smith’s malicious and sadistic torture of

Mack--the        court   is     convinced        that     exceptional

circumstances are not present here.                (Of course, this

view of the evidence is based on what was presented at

trial and is subject, within the confines of the jury

verdict,    to     reconsideration      based     on    the   evidence

presented at sentencing.)

    DONE, this the 1st day of July, 2013.

                                       /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
